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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

    TAYLOR MONICQUE MARSHALL,

                Plaintiff,
                                                   Case No. 18-cv-10687
                   v.
                                          UNITED STATES DISTRICT COURT JUDGE
                                                  GERSHWIN A. DRAIN
PALMER RECOVERY ATTORNEYS, PLLC,

              Defendant.

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                                   JUDGMENT

      In accordance with the Opinion and Order entered on today’s date,

      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

Plaintiff and against Defendant.

      Dated at Detroit, Michigan, this 27th, day of April 2018.



                                                   DAVID J. WEAVER
                                                   CLERK OF THE COURT
